Case 7:22-cv-00144 Document53 _ Filed on 12/20/23 in TXSD Page 1 of 39

IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS
MCALLEN DIVISION

OSCAR MORENO BRIZ, Individually and PLAINTIFF
on Behalf of All Others Similarly Situated

VS. No. 7:22-cv-144-MA

PROTRANS INTERNATIONAL, LLC DEFENDANT

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Date: 7/2/77 2023

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IMPORTANT: CONSENT FORM DUE BY JANUARY 2, 2024

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Danielle Cornwell =
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Roderick Craig
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Steven lashawn Gill
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Brenda Martinez
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OSCAR MORENO BRIZ, Individually and PLAINTIFF
on Behalf of All Others Similarly Situated

vs. No. 7:22-cv-144-MA

PROTRANS INTERNATIONAL, LLC DEFENDANT

CONSENT TO JOIN COLLECTIVE ACTION

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Pe V L te
SIGNATURE

Robert Moore
PRINTED NAME

pate: 2/05 2023

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IMPORTANT: CONSENT FORM DUE BY JANUARY 2, 2024

Case 7:22-cv-00144 Document53_ Filed on 12/20/23 in TXSD Page 24 of 39

IN THE UNITED STATES DISTRICT COURT
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Lorenzo Morin. _ __

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MLA

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Christopher Neely ___
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Date. JA- Y-___, 2023

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Case 7:22-cv-00144 Document53_ Filed on 12/20/23 in TXSD Page 26 of 39

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Jose Olivares ee
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Date: \2/ ob 2023

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Alberto Lucero Ortega
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Case 7:22-cv-00144 Document53_ Filed on 12/20/23 in TXSD —— Page 28 of 39

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David Ramirez ee
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Case 7:22-cv-00144 Document53_ Filed on 12/20/23 in TXSD Page 29 of 39

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Jose Luis Reyes
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Date: | ro ok , 2023

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Case 7:22-cv-00144 Document53_ Filed on 12/20/23 in TXSD —— Page 31 of 39

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NVictor Amaro Saenz a

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Juan Jesus Ulloa -
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Maria Valenzuela
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Date: Decembey, 7. 2023

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V John Villagran
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Jessie Villarreal _
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Date: |). + , 2023

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